Case 1:20-cr-00048-HSO-RHWR Document 35-3 Filed 05/12/20 -Rage

Rage totic: OF MISSISSIPPI
FILED
MAY 12 2020
CRIMINAL CASE COVER SHEET
U.S. District Court 5 ARTHUR JOHNSTON Sta
PLACE OF OFFENSE:
RELATED CASE INFORMATION:

City: SUPERSEDING INDICTMENT _____s DocKET#_4$_ “MCF /: docr AS HS0 JCS

SAME DEFENDANT
MAGISTRATE JUDGE CASE NUMBER 1:20mj533RHW 4-21-20°

CouNTY: Harrison

~_ NEW DEFENDANT.

R 20/ R 40 FROM DISTRICT OF

DEFENDANT INFORMATION:

JUVENILE: YES X__ No
MATTER TO BE SEALED: YES X NO
NAME/ALIAS: CHRISTOPHER Q. NGUYEN

U.S. ATTORNEY INFORMATION:

AUSA Annette Williams BAR # 9641

INTERPRETER: _X__ NO

LOCATION STATUS: ARREST DATE 4-21-20

YES LIST LANGUAGE AND/OR DIALECT:

X _ ALREADY IN FEDERAL CUSTODY AS OF 4-21-20

ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE

U.S.C. CITATIONS

TOTAL #OF COUNTS: 2 PETTY

(CLERK'S OFFICE USE ONLY)

INDEX KEY/CODE

MISDEMEANOR 2 FELONY

DESCRIPTION OF OFFENSE CHARGED COUNT(S)

Set 1 21:846-CD.F 21 USC § 846 Conspiracy to Possess With Intent to 1
Distribute a Controlled Substance
Set 2 21:846-CD.F 21 USC § 846 Attempt to Possess With Intent to 2

Set 3

Distribute a Controlled Substance

(Aiding & Abetting)

Set 4

Set 5

Dare): ya [2030 SIGNATURE OF act D : (hall

(Revised 2/26/10)
